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AO 450 (GAS Rev 09/20) Judgment in a Civil Case

 

United States District Court
Southern District of Georgia

TOSHA OGLESBY,

Plaintiff,
JUDGMENT IN A CIVIL CASE

V. CASE NUMBER: CV 520-147

KILOLO KIJAKAZI, Acting Commissioner of Social
Security,

Defendant.

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

V1 Decision by Court.This action came before the Court. The issues have been considered and a decision has been
rendered.

IT IS ORDERED AND ADJUDGED
that, pursuant to the Order dated August 20, 2021, this case is hereby remanded to the
Commissioner of Social Security pursuant to Fed. R. Civ. P. 58 for further action under sentence

four of U.S.C. § 405(g). This civil action stands closed.

Approved by:

HON. LI GODBEXWOeRTUDGE-

UN STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 

 

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Date Clerk

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(By) Deputy Clerk

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